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                                              January 8, 1998, Thursday

DISTRIBUTION: Business Editors & Technology Writers

LENGTH: 548 words

HEADLINE: Hitachi Scores Innovations '98 Award at CES With Innovative MPEG Camera

DATELINE: LAS VEGAS

BODY:

   Jan. 8, 1998--Adding to an ever-expanding list of awards and broad industry acclaim, Hitachi Home Electronics
(America), Inc. announced today that its MPEG camera had received the prestigious Innovations '98 award at the 1998
Winter Consumer Electronics Show in Las Vegas.

      Hitachi's MPEG camera, the world's only MPEG digital video camera, is capable of recording 20 minutes of
real-time MPEG-1 video, 3,000 JPEG still images, or 1,000 still images with 10 seconds of audio for each still. It
permits PC and Mac users to add video and still images to Web pages, in-house training videos, presentations and other
Internet and Intranet applications. At 19.3 ounces, the camera is smaller than a conventional camcorder. All of its
functions, including real-time compression, full motion video and playback, are handled by a single chip -- the MPEG-1
encoder/decoder (CODEC) LSI, developed by Hitachi, Ltd.

      The MPEG camera has been featured in many television and cable broadcasts and in nearly every major consumer
and electronics publications including Business Week, Parade Magazine, PC Magazine, and Popular Electronics.
Recently, PC Magazine awarded Hitachi its Technical Award for Excellence in the Digital Cameras/Imaging category
for the MPEG camera.

     Innovations is the most recognized awards program in the consumer electronics industry, endorsed by the
Industrial Designers Society of America and sponsored and produced by the Consumer Electronics Manufacturers
Association (CEMA), a sector of the Electronic Industries Association (EIA). Each year, members of the trade press,
engineers and industrial designers evaluate the best ideas in electronic hardware and software consumer design and
engineering that are submitted by manufacturers of consumer electronics products marketed in the United States.

     Hitachi Home Electronics (America), Inc., a subsidiary of Hitachi America, Ltd., develops and markets a variety of
consumer electronics and commercial multimedia products, including handheld computers and products for image
capture and information access/multimedia.

     Hitachi America, Ltd., a wholly owned subsidiary of Hitachi, Ltd., Japan, markets and manufactures a broad




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    Hitachi Scores Innovations '98 Award at CES With Innovative MPEG Camera Business Wire January 8, 1998,
                                                   Thursday


spectrum of electronics, computer systems and products, and semiconductors, and provides industrial equipment and
services throughout North America.

     Hitachi, Ltd., headquartered in Tokyo, is one of the world's leading global electronics companies with fiscal1996
(ending March 31, 1997) consolidated sales of$ 68.7 billion. The company manufactures and markets a wide range of
products, including computers, semiconductors, consumer products and power and industrial equipment.



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                                             January 7, 1998, Wednesday

DISTRIBUTION: Business Editors & Telecommunication Writers

LENGTH: 1357 words

HEADLINE: Hitachi To Unveil Digital Convergence Products At Winter CES Show

DATELINE: LAS VEGAS

BODY:

    Jan. 7, 1998--

     Products Slated to be Shown Include HDTV, DTVs, PTVs, D-VHS

    and DSS Systems, Handheld PCs, DVD Players, MPEG Camera, and Plasma Displays Highlighting its continued
march into the digital convergence marketplace with top quality products and technologies, Hitachi Home Electronics
(America), Inc. announced today its broad and diversified product line-up and technology demonstrations for the 1998
Winter Consumer Electronics Show in Las Vegas (Display Room N-203).

      "Our CES lineup is full of stars," said Gary Bennett, executive vice president. "From our 61" HDTV to our state of
the art MPEG camera to the ultrafunctional next generation Handheld PC, each product on display incorporates
advanced digital technology and features that enhance a user's entertainment or productivity. In our typical no-nonsense
style, our engineers have assembled products that make the eyes pop and the ears perk."

HDTV Foremost among its digital product offerings is Hitachi's first demonstration of its forthcoming 61" High
Definition TV (HDTV). The result of more than a decade of research and development by teams of engineers in both
the U.S. and Japan, Hitachi's HDTV provides pristine, high resolution picture quality (1920 x1080 I) on a 61" screen.
The UltraFocus super bright lens system, UltraFocus super bright CRT's, Magic Focus auto digital convergence, digital
3DYC comb filter, and advanced velocity scan modulation, complement full Dolby Digital and Dolby Pro Logic
Surround Sound and a 60 watt bass reflex speaker system for superb home theater enjoyment. Its tuner section allows
for receipt of all 18 ATSC DTV formats, includes a built-in DSS IRD with Smart Card Input Slot, and a 181 Channel
NTSC Tuner. Hitachi has also incorporated an impressive array of advanced and convenient features that have become
expected with Hitachi's UltraVision line ofleading projection TV.

Digital-Ready TV Fresh off the phenomenal reception of its 27" MMVision PC-Ready TV in recent months, Hitachi
will unveil its 36" Digital-Ready TV at CES aimed at the consumer market. Available in the third quarter of 1998, this
new Digital-Ready TV offers enormous picture quality through its industry-leading UltraBlack Invar picture tube with




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  Hitachi To Unveil Digital Convergence Products At Winter CES Show Business Wire January 7, 1998, Wednesday



.78mm dot pitch, all time progressive scanning (a full60 frames per second) which eliminates flicker, dynamic focus,
digital comb filter, complete BBE and SRS stereo sound and the advanced tuner features that are common among
Hitachi's high quality TV product lines. Hitachi's Digital-Ready TV is ready for out-of-the-box connection to DTV
set-top boxes, laptop or desktop computer systems, PC or game systems, and other presentation hardware through VGA
or SVGA inputs.

D-VHS and DSS Hitachi will also be showing its UltraVision D-VHS VCR and compatible DSS system on a 60"
UltraVision Projection TV. The DSS system IRD incorporates a "Digital Interface" consisting of a simplified digital
audio/video bus and proprietary software and protocol allowing for digital bit-stream recording and 2-way
communication with the new D-VHS VCR. By recording the digital bit-stream directly to videotape, and playing it
back through the DSS IRD for decoding of the MPEG-2 signal, a recording with virtually no picture quality degradation
is possible. The UltraVision D-VHS VCR establishes a new standard of recording, producing the very best in picture
quality with over 500 lines of resolution, and is compatible to record and play standard VHS. In its digital mode, it can
record up to 5 hours at 14.1 Mbps with no tape jitter and superior signal to noise ratio of any standard VHS recorder.

Handheld PC With a large and superbright seven-inch screen with backlit display and a user-friendly oversized
keyboard, Hitachi's second generation Handheld PC was designed from the ground up for fast moving mobile
professionals who demand both functionality and portability. Weighing just 16.9 ounces and measuring 7.7"W x 4.3"D
x 1.1 "H, Hitachi's Handheld PC is powered by a lightning quick 80MHz SH 7709 Hitachi chip, and includes 8MB of
memory in the base unit, a superfast software modem with fax, one Type-II PCMCIA slot, and one Compact Flash Card
Slot. Maximizing ease of synchronization with desktop and laptop computers, Hitachi's Handheld PC also offers an
optional cradle with Ir-DA, VGA serial and AC Adapter charger interfaces. Placing the Handheld PC in the cradle
automatically engages the synchronization and charging procedures.

DVD Hitachi will also show two full-featured DVD players each with two lasers and lenses for enhanced performance,
scheduled for shipping in the third quarter of 1998. Designed specifically for movie lovers who want the highest quality
picture and sound, Hitachi's DVD players offer 2X speeds allowing the player to read more of the frames produced by
the MPEG compression. With support for a 5.1 channel discrete Dolby Digital Surround Sound, Dolby Pro Logic and
high fidelity stereo, Hitachi's DVD players enhance sound for maximum home theater enjoyment. Other advanced and
unique features include multiple aspect ratios and disc navigation that allows a user to quickly search thumbnail screen
shots and initiate playback immediately.

MPEG Digital Camera The recipient of many prestigious industry awards for technical excellence and functionality,
Hitachi also will show its highly innovative MPEG digital camera. Hitachi's revolutionary and award-winning MPEG
camera records up to 20 minutes of full-motion digital video (MPEG) with sound, 3,000 full-color images (JPEG) or a
combination of both-- yet weighs only 19.3 ounces and fits in a pocket or purse. The camera's MPEG files are
compressed automatically for quick transfer to a PC, Macintosh or notebook computer using an adapter card or the
camera's removable 260 MB PCMCIA Card drive. With the included editing software suite, users can easily
drag-and-drop digital imagery into popular presentation programs like PowerPoint 97 and Corel Presentations 8, send as
e-mail attachments, or insert into Web pages.

Plasma Displays Hitachi will also show 25" and 41" XGA color plasma displays. The XGA capability of the plasma
displays allows for a resolution of 1024 x 768, or 2.36 million on-screen dots, 2.5 times more than a VGA display (640
x 480). Ultrathin and light, the displays have a wide viewing angle of 160 degrees, both vertically and horizontally, and
feature excellent brightness and contrast. The color plasma displays incorporate multiscan technology that
automatically adjusts to XGA, SVGA and VGA, and also have video input ports.

     Hitachi Home Electronics (America), Inc., a subsidiary of Hitachi America, Ltd., develops and markets a variety of
consumer electronics and commercial multimedia products, including handheld computers and products for image
capture and information access/multimedia.




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      Hitachi America, Ltd., a wholly owned subsidiary of Hitachi, Ltd., Japan, markets and manufactures a broad range
of electronics, computer systems and products, and semiconductors, and provides industrial equipment and services
throughout North America.

     Hitachi, Ltd. (NYSE: HIT), headquartered in Tokyo, Japan, is one of the world's leading global electronics
comanies, with fiscal 1996 consolidated sales (ending March 31, 1997) of$ 68.7 billion. The company markets and
manufactures a wide range of products, including computers, semiconductors, consumer products and power and
industrial equipment.



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                                               Video Systems

                                                    January 1998

SECTION: feature; ISSN: 0361-0942

LENGTH: 1864 words

HEADLINE: Hitachi's MPEG Camera Breaks New Ground

BYLINE: Michael Heiss

BODY:

     Back in 1986, when our family car started leaking fluids everywhere, we
decided the time had come to buy a new one. But we didn't want just any new
car. We wanted an Acura. At the time, this car was practically unheard of.
Ours was one of the first to reach these shores; we bought it the first
weekend they went on sale. The notion of paying $20,000 for a "luxury" car
built in Japan was novel back then, but based on Honda's reputation, we
decided to take a gamble.

     In driving our new Acura Legend sedan in car-crazy Southern California, we
encountered an interesting phenomenon. Upon seeing the Acura, people waved,
honked, and blinked their lights. When leaving the car at restaurants, the
attendants parked it in front, along with the Mercedes, Rolls, and Jags.
Even when getting gas or putting quarters in the parking meter, people
would stop and ask questions. "What is that? How do you like it?"

     The attention was something rarely attached to a consumer product. We can
only imagine it was the same sort of attention Edsel drivers received when
that vehicle premiered.

     Curiously, I felt the same sort of attention and got similar questions
during the past few months while using Hitachi's MP-EG1A "MPEG Camera."
Even among audiences as jaded to electronics as Los Angeles drivers are to
cars, the device prompted all kinds of questions. "What kind of camera is
that? Where do you put the tape? How good are the pictures? Is that a REAL
camera?"




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     As I tested the camera, I found myselfwondering if it would tum out to be
an Edsel, interesting in design but doomed from the start, or if it would
it be an Acura, an example of solid engineering that would start a new
trend. For a change, I'll put my conclusion right up front. This is
definitely NOT an Edsel. Though there are some things I'd like to see
changed, the success of this product and product category seem certain. I
expect that just as other brands of cars, such as Lexus and Infiniti,
followed in Acura's wake, so will this camera create an entirely new
category of video products.

      So what makes the camera so special? A quick rundown of its capabilities
tells much of the story. To begin with, it has the capability to record and
store up to 20 minutes of MPEG-1 video directly onto a removable 260MB PC
card hard drive. Alternatively, it can capture up to 3,000 JPEG images or
up to 1,000 stills with up to 10 seconds of audio each. Of course, you may
combine the three types of image capture up to the drive's capacity, and
there is a straightforward navigation system with thumbnail views and a
1.8-inch color LCD onboard to play them back.

     When you have selected the images you wish to use, they may be dubbed
directly out of the camera to a VCR as composite video and audio without
any adapters. Even better, the hard drive simply pops out of the bottom of
the unit. Place it in the Type III PC card slot of your laptop or computer
and you may use the still or motion video instantly. No capture cards or
processors are required. Once the drive appears in your directory, you just
select the image files you need, and that's all there is to it!

     Other features that make life easy are a 6X zoom, a wide variety of editing
and viewing software, two lithium ion batteries with reasonable life, and
an ISA card for image transfer to desktop computers (which are less likely
to have a PCMCIA Card slot than a laptop). Transfers via SCSI connection
are also possible with an optional accessory card. And finally, the whole
shebang weighs less than 20 ounces with battery onboard.

     On the whole, out tests proved the worthiness of the MPEG Camera's concept,
and though it's a first-time product with nothing to benchmark it against,
I think Hitachi has done an admirable job. In fact, they may have built the
benchmark against which other similar products will now have to be measured.

     While the market is filled with a wide variety of still cameras, none has
the capacity of the Hitachi MP-EG1A. The ability to store 3,000 different
pictures without having to download, clear the memory, or switch storage
media is amazing. This vast reservoir capacity means that you don't need to
worry about having to stop shooting when the memory limit is filled, or
eliminate questionable shots just to save space. Having the luxury of large
storage lets you deal with that later.

    Of course, most of the picture-taking done with this camera will be for
presentation use, Web site postings, or other such applications. For these
kinds of uses, the 704x480 resolution places the MPEG Camera in the
midrange of still-only cameras. If you were buying it solely to take




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stills, you could do much better in terms of resolution. You could even get
a strobe light, which is lacking here, and still have loads of money left
over to buy a fair number of memory flash cards.

     However, stills aren't the only thing this camera does. If you press the
REC MODE button twice, you'll notice that a small movie camera icon appears
in the viewfinder. While in the Movie mode, you have the option of
recording up to 20 minutes of full MPEG-1 video, with audio, of course.
This is a neat trick that constantly set heads turning when I used the unit
among video-savvy crowds.

    Yes, there are other tape-based digital recorders, but their output is not
readily available. With the MPEG Camera, there are no encoders, no
processing, no extra anything. Use the software included with the unit and
you are ready to view, edit, or integrate the video and audio into most any
compatible application.

     If that doesn't sound like a big deal, here is an example of how I used the
MPEG capability to maximum advantage. One of our clients was introducing a
major new product at a trade show, and a demonstration of it was required
for a sales presentation during the show. Unfortunately, there was only one
sample, and it was locked inside a van on the way to the show for a week
prior to the event. Of course, there were no other pictures available.
Normally, this would have been a difficult situation.

     With the MP-EG 1A, however, we simply walked over to the company's booth
once the truck had arrived, got someone to do the demonstration for us
while we recorded it all on the camera. Then, we simply swapped the drive,
used the editing program to trim the take, opened our presentation program,
inserted the finished file, and the presentation was complete. No muss, no
fuss. Not even an AC cord or interconnect in sight! Without a great deal of
other paraphernalia, there is no other product available that could have
bailed us out in this situation.

     Even better, this is not a PC-centric product. If the presentation had
required full audio/video display on a convention monitor or video
projector, that would have been no problem. A standard output cable plugs
directly into the side of the camera and connects to any standard AV
product.

     To put this video to the acid test, I used the MP-EG1A for a more typical
camcorder-type application -- recording a family wedding. Once again, it
attracted a great deal of attention from people who could not imagine that
I was recording audio and video from such a small device. Once the video
was shot, I played it back through a sophisticated home theater system with
a large screen data projector and a line doubler. This is a critical
viewing system, and digital flaws are often magnified and exaggerated by
the processing circuits in the doubler. However, as I viewed the video
right out of the camera, I encountered no problems and the recording was
considered a success.




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     Once again, instant and easy access to the MPEG video was a major benefit,
as we were able to send the still and full-motion files via e-mail to
relatives who were not able to attend the event. Even with the best digital
tape camcorders, we wouldn't have been able to do that without additional
equipment.

     If you plan to modem files from the PC card, there is one thing you need to
know. Most laptops have only one PC card slot that will take one Type III
product (for example, the MPEG Camera's drive), or two Type II PC cards,
such as your standard PCMCIA modem. The catch is that you can't use the
drive and a card modem at the same time, so you need to add the extra step
of dubbing the video off to your hard drive, and then re-insert the modem
card. We were all set to go before we realized that there was no place for
the modem.

     That was a minor inconvenience, but it did remind me of some of the other
minor issues that came up while using the new Hitachi camera. With a
first-generation product there are bound to be some things that don't make
the cut, and I found a few. None were so egregious that they would change
my very positive impression of the MP-EG 1A, but they are worth noting as
you begin to frame how you might use the camera. And perhaps we'll see
fixes for them incorporated into an MP-EG2

     Perhaps the most annoying thing was the battery charger supplied with the
unit. It can only charge one battery at a time, and you can't even charge
one battery on the charger unit while simultaneously using the camera on
the power tether. It should be said that the life of the lithium ion
batteries was outstanding, and as long as you charge both of the supplied
batteries before leaving for the day, it's unlikely that you'll run out of
power. For extra long shooting or editing days, however, the purchase of
additional batteries and perhaps another charger is worth considering.

     One thing I'd definitely love to see is a built-in strobe, even at the
expense of a slightly heavier battery. Stills taken in low-light levels did
tend to get a bit noisy. Also, the design of the unit itself takes a bit of
getting used to, particularly given the angle of the taking lens. It points
up at a slight angle, so you have to overcome the tendency to point the
camera straight ahead. Perhaps Hitachi will find another configuration in
the future, although the ability of the lens to swivel 180 degrees is a
helpful feature.

     Finally, I wish that some sort of lens cap had been provided. That would be
a sensible thing to have for a $2,499 camera. The unit is so light and
small that it becomes a natural addition to the stuff in your briefcase,
but I was always worried about lens damage.

    At the end of the day, such minor issues were far outweighed by the
benefits and performance of the camera. The MP-EG 1A does exactly what it
was intended to do. It records stills, stills with audio, and full-motion
MPEG-1 video, and it makes them accessible via card swap, data link, or AV
connection with almost no fuss or bother. The ability to shoot video and




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then integrate it into a computer presentation or web site almost instantly
is something that you quickly find indispensable. Yes, the price tag is
high, but if you need this capability, the results are priceless.

   Contributing editor Michael Heiss is a marketing consultant based in Los
Angeles serving the professional and consumer electronics industries. He
may be reached at CaptnVid@aol.com.

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                                                    January 1998

SECTION: feature; ISSN: 0361-0942

LENGTH: 1864 words

HEADLINE: Hitachi's MPEG Camera Breaks New Ground

BYLINE: Michael Heiss

BODY:

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  The 14th Annual Awards (1997)                                                                  pcmag.com


 PCs
 Winner: IBM ThinkPad 770
 Adalia Sanchez, Yuichi Shiraishi, Yukihiko Hirano, Hiroaki Agata, Yoshihisa Ishihara, Kazumi ltoh,
 Atsushi Kumaki, Tomoki Maruichi, Kaneyasu lbayashi, Shun Uno, Yoichi Hirose

                  Equipped with Intel's newest mobile chip, code-named Tillamook, the IBM ThinkPad 770 is
                  the ultimate notebook available today.

               Although the system is roughly the same weight as the previous series' model, the ThinkPad
  IBM ThinkPad 770 incorporates a wish list of features not found in any other portable system. These
       770
               include the largest notebook display on the market, the highest-capacity hard disk available,
 the first DVD-ROM drive, the most versatile and convenient modular bay, and an enhanced version of
 IBM's peerless TrackPoint technology.

 In a high-end market where screens typically measure 13.3-inches across diagonally and hard disks top
 out at 3GB, the ThinkPad 770 offers both a 14.1-inch display and a 5.1 GB hard disk. The disk fits into the
 ThinkPad's unique, modular UltraBay. Unlike earlier modular bay designs, the UltraBay takes the
 guesswork out of component hot-swapping. It is equipped to house either a 20X CD-ROM drive, an
 additional 5.1 GB hard disk, a second lithium ion battery, a standard floppy disk drive, or a DVD drive.
 Various indicator lights on the bay let users know exactly when they can safely swap components.

 With the ThinkPad 770, IBM has also significantly improved its TrackPoint pointing technology. TrackPoint
 is the only mouse surrogate that integrates into a system's keyboard.

 Its unique Press-and-Select feature lets you tap once on the TrackPoint to mimic either a left or right
 mouse click, which means you don't need to move your hands off the keyboard when launching programs
 or accessing menu commands.

 An additional button at the base of the keyboard lets you scroll up, down, left, or right through a document
 without having to use Windows' on-screen scroll bars. The same button also lets you magnify a selected
 rectangle of screen for close-up viewing, a feature that is typically implemented only via software.

 Even with this remarkable feature set, the weight of the ThinkPad 770 is 8.2 pounds-only 0.4 pounds
 heavier than its predecessor, the ThinkPad 7650. IBM has cleverly pruned off a significant amount of
 plastic from the front of the machine and drilled minute holes into the metal casings that surround its major
 disk drives to lighten the load.

 The notebook is no heavier than its chief competitors, the Micron TransPort XKE and the Toshiba Tecra
 750CDT, despite being several technological steps ahead. (IBM PC Corp., Research Triangle Park, NC;
 800-426-2968; www.pc.ibm.com/thinkpad.)

 Components
 Winner: Intel MMX Technology
 The MMX Development Team
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                  MMX Technology, which debuted in January in the Pentium Processor with MMX
                  Technology, marked the first major change to Intel Corp.'s x86 instruction set since the
                  advent of the 386 chip over a decade ago. The 57 new processing instructions, designed to
                  enhance and accelerate multimedia, have breathed new life into the CPU and PC markets.
   Intel MMX
                  Intel's triumph is not the instructions themselves but the way in which they were introduced.
   Technology

 The company was able to coordinate the release of third-party software custom-coded to take advantage
 of MMX to coincide with the release of the Pentium Processor with MMX Technology. Although MMX
 chips are augmented with a set of entirely new instructions, they are compatible with all extant x86
 software. Applications specifically coded to use MMX-typically audio, video, communications, and
 image-processing applications-exhibit remarkable improvements in both quality and speed. Since most
 MMX applications were games and education titles at first, MMX systems quickly found a home in the
 consumer and SOHO markets, leaving the Pentium Pro to the corporate environment. MMX has seized
 most of the processor market in less than six months, making the non-MMX chip seem almost
 antediluvian. (Intel Corp., Santa Clara, CA; 800-628-8686; www.intel.com.)

 Peripherals
 Winner: Epson Micro Piezo
 Jay Shears and the Micro Piezo Development Team

                  Ink jet printing for the office and home is improving by leaps and bounds, driven by
                  technology advancements such as Epson's Micro Piezo printing technology.

                  Micro Piezo printheads are designed to lay down smaller, sharper, rounder dots than those
   Epson Micro    created by thermal printheads, with less overspray and fewer stray dots.
      Piezo

 The precise control Micro Piezo enables also allowed Epson engineers to push print resolution to an
 industry-leading 1,440 dpi. These attributes, combined with other advancements such as AccuPhoto
 halftoning algorithms and quick-dry inks, help Epson's Stylus ink jet family produce arguably the best
 output of any printers in their class. The end result: stunning color output that approaches true photo
 quality, all from printers that cost as little as $269. (Epson America Inc., Torrance, CA; 800-463-7766;
 www.epson.com.)

 Software
 Winner: NaturallySpeaking
 NaturallySpeaking Research and Development Team

 Finally-an accurate product for continuous speech recognition that facilitates dictation on your PC! With
 Dragon Systems' NaturallySpeaking, Version 1.0, you talk into a microphone in a natural manner and the
 program records your words on the screen, achieving impressive accuracy in the process.

 At the press announcement last April, Dragon claimed users would be able to talk to their PCs as if they
 were talking to neighbors. The results may not be quite that good (see editor-in-chief Michael J. Miller's
 humorous results in "I. Want. To. Talk. To. You.'', September 23, 1997). Nevertheless, NaturallySpeaking
 is clearly a major breakthrough in speech technology, which is by all accounts one of the most compelling
 areas of growth for PCs in the coming months and years.

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 Previously, all so-called general-purpose speech recognition products relied on discrete speech.

 You ... had ... to ... talk ... like ... this (with distinct pauses between words) to get the software to recognize what
 you were saying. Other companies focused on general-purpose products for continuous speech
 recognition-but Dragon brought its product to market first, in June. It was followed closely by IBM's
 ViaVoice, and Lernout & Hauspie, which now owns Kurzweil, is promising a similar product by the end of
 the year. NaturallySpeaking includes a healthy active vocabulary of 30,000 words, which covers most of
 the words we use daily. It also includes a 230,000-word dictionary, so that you can easily retrieve less
 common words. You add new words with Dragon's Vocabulary Builder, which searches the documents on
 your hard disk for words you use more frequently, or by simply saying a new word and spelling it once.
 When you do need to spell words, you simply pronounce each letter. Other products have required you to
 use different approaches for inputting letters, such as the military's alpha, bravo, Charlie scheme. To train
 NaturallySpeaking initially, you simply read an 18-minute passage from Dave Barry's Dave Barry in
 Cyberspace.

 We're also finally seeing some realistic expectations for the type of system you need to perform
 continuous speech recognition on this scale. The requirements for NaturallySpeaking are a Pentium/133
 with 32MB RAM on Windows 95 (48MB on Windows NT), an industry-standard 16-bit sound card, and
 60MB hard disk space. Dragon Systems includes a high-quality headset with microphone right in the box.
 (Dragon Systems Inc., Newton, MA; 800-437-2466; www.naturalspeech.com.)

 Internet
 Winner: JavaBeans
 The JavaBeans Development Team

 With the advent of the JavaBeans component standard, Sun Microsystems is finally able to shed Java's
 image as a toyware applet generator. The power and versatility of Java Beans presents a good alternative
 to Microsoft's ActiveX for building business applications for the Web.

 Java Beans lets you share and reuse components easily and deploy Java-based components in new ways
 not possible before. This will accelerate Java development dramatically, letting developers get past the
 basics quickly and concentrate on advanced applications.

 Keeping it simple was the guiding principle behind Java Beans and is one of its most impressive strengths.
 Unlike what you find in ActiveX technology, Sun Microsystems designed JavaBeans to be used for
 components, making it easy for vendors to build beans that can be reused in many Java development
 tools. Telling the world about what properties, methods, are and events in JavaBeans is generally easier
 than with other component models because this information is built right into the control, and not separate
 (as with type library information in Microsoft ActiveX Controls, for example). There are two approaches to
 building JavaBeans: You can publish what a JavaBean can do simply by conforming to certain naming
 conventions, or you can employ a more advanced method involving descriptor classes, which describe
 what properties, methods, and events a bean can offer explicitly by filling classes with this information.
 Either approach will result in an easily reusable JavaBean: A tool or application checks a bean's contents,
 then can instantly add it to a development environment or application by reading its methods and
 properties. This is a breakthrough because of its simplicity.

 The Java Beans component model includes a slew of additional features. These include the ability to
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 archive, download, and execute JavaBeans remotely, as well as the ability to save and restore
 data-referred to as persistence. The JAR file specification lets you download beans to a Web page, then
 install and run them inside your browser.

 Other features include security APis, which ensure security over the Internet, and Remote Method
 Invocation (RMI), which lets remote machines invoke beans, thus making distributed computing on Java a
 possibility. These features, though not exactly new, have never been available in such a
 platform-independent way as with this new Java standard. (Sun Microsystems Inc., Palo Alto, CA;
 650-786-7737; www.sun.com.)

 Communications
 Winner: @Home
 Milo Medin, Jonathan Rosenberg, Dean Gilbert, Dave Bagshaw

 Local cable companies might appear well poised to deliver Internet access, but the challenge of
 developing both long-distance connections and local services has been a great stumbling block. @Home
 overcomes the problem by designing and weaving together a superb back-end system for cable modem
 service providers. The result is a centralized, end-to-end network management and troubleshooting
 system that delivers Internet access 100 times as fast as over ISDN lines.

 @Home tackles IP addressing, name service, routing, and other functions. In addition to the engineering
 needed to deploy widespread 155-Mbps trunks, the designers of @Home practice a philosophy of pushing
 data closer. Regional cable operators publish local information to create local-market home pages, which
 are stored on area servers, and local servers cache commonly accessed site information.

 Although @Home is available in only a select number of cities at this time, the company is developing
 techniques such as the delivery of near-CO-quality audio and broadband video programming and new
 caching techniques, that are sure to have a big impact on the Internet. (@Home Network, Redwood City,
 CA; 888-988-9675; www.home.net.)

 Networking
 Winner: LDAP, Version 3.0
 Tim Howes, Mark Smith, Mark Wahl, and Steve Kille

 With the superbly designed LDAP, Version 3.0 (Lightweight Directory Access Protocol), the global
 directory is one step closer to being a reality. A nimble subset of the comprehensive but unwieldy x.500
 Directory Access Protocol (DAP), LDAP has emerged as the premier method for standards-based network
 directory access.

 Today's networks run multiple operating systems and messaging platforms, each with its own directory of
 user and resource information. Managing these directories has become one of administrators' biggest
 headaches, and providing such diverse directory information has been one of the industry's biggest
 challenges.

 LDAP, Version 3.0, describes a directory access system that acts as a common rendezvous point for
 users, services, and management. Numerous network operating systems, Web browsers, e-mail
 packages, and other applications have signed onto the standard. While no single company or product

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 deserves all the credit, Tim Howes and Mark Smith have played important roles in LDAP's development
 since the early nineties. (Internet Engineering Task Force,. Reston, VA; 703-620-8990; www.ietf.org.)

 Digital Imaging
 Winner: Hitachi MP-EG1A
 Hitachi MPEGCAM Team

                  What will the future of digital video look like? The Hitachi MP-EG1A should give you an idea.
                  This digital chameleon is the first video camera that captures both still and video images
                  directly into the universally accepted MPEG-1 format.

     Hitachi You can store up to 20 minutes of video on its 260MB PC Card hard disk. The video is
           1
    MP-EG A  captured at 30 frames per second (fps) at a resolution of 352-by-240-perfect for a video
 window on a Web site. The camera also captures up to 3,000 still images (at 704-by-480 resolution) in
 JPEG format, or 1,000 JPEG stills with 10 seconds of audio each for voice annotations.

 Shaped similar to an electric razor, the video camera fits easily in the palm of your hand. Simply turn it on,
 select the image type, line up the subject in the viewfinder, and press Record. There's a 6X power-zoom
 button for framing or following the subject and a 1.8-inch color LCD viewfinder to let you watch all the
 action.

 You can transfer images to your PC either by swapping the PC Card drive into a PC Card reader or by
 attaching the camera to the kit's dedicated high-speed ISA serial board. Hitachi bundles comprehensive
 programs for viewing video, still, and audio files and for editing video and still files. (Hitachi Home
 Electronics America Inc., Norcross, GA; 800-448-2244; www.mpegcam.net.)

 Displays
 Winner: Fujitsu Plasmavision
 Plasmavision Development Team

                  Some inventions take longer to mature and become marketable. After 15 years of
                  development, the first commercially available full-color plasma panel is here. The Fujitsu
                  Plasmavision, a 42-inch flat-panel display, is a herald of things to come for both
                  ultra-large-screen computer displays and hang-on-the-wall TVs for the home.
     Fujitsu
  Plasma vision
               A pixel in a plasma display works much like a familiar fluorescent light: Electrically charged
 gas emits ultraviolet light, which then strikes and excites phosphors that emit visible light. Plasma panels
 have been around nearly as long as the PC. The earliest Plasma panels were a rusty-red monochrome,
 used in transportable computers and as large, high-resolution displays for engineering workstations. Only
 recently were phosphors developed for full-color displays, along with new fabrication techniques required
 to accommodate the red, green, and blue phosphors.

 Plasma will enable screens much larger than is economically practical with conventional CRT or even
 LCD technology. Matsushita (the parent company of Panasonic), Mitsubishi, NEG, and Pioneer have all
 demonstrated 40-inch or larger color panels, but Fujitsu is the first out of the gate. (Fujitsu General
 America Inc., Fairfield, NJ; 888-888-3424; www.plasmavision.com.)


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 Standards
 Winner: DVD-ROM
 DVD Forum, led by Toshiba Corp. S.A., Time Warner Inc., Sony Electronics Inc., and Philips
 Electronics N.V.

                  Paradigm shifts don't happen every year, nor overnight. DVD has been in the works for
                  years, but it's been worth the wait. In coming years, it should replace CD-ROM as the
                  primary means of PC content distribution.

   ovo-ROM      DVD disks come in four formats, ranging from single-sided, single-density disks with 4.7GB
 to double-sided, double-density 17GB disks. Such capacity will enable new types of multimedia-intensive
 applications, from single-disk mapping and database programs to edutainment packages to full-length
 movies with sound tracks in several languages. The DVD spec also calls for drives to be
 backward-compatible with existing CD-ROM disks, so you can play the titles you already own.

 DVD (which alternately stood for digital video disk and digital versatile disk) is actually a hybrid, created
 jointly by two groups that had been working on their own designs for new high-density optical disks. One
 group, made up of seven companies led by Toshiba, favored SO (Super Density). The other group,
 consisting of Sony and Philips, espoused MMCD (Multimedia CD). In 1995, the two groups agreed to
 create a single, unified DVD specification. The result is a familiar format with a wealth of new possibilities.

 Development Tools
 Winner: Visual Cafe for Java 2.0
 Mansour Safai and the Visual Cafe for Java Database Development Team

 Symantec's Visual Cafe for Java 2.0 Database Development Edition is a powerful third-generation Java
 database tool that features strong support for Sun's Java Beans. Its integrated database middleware,
 compiler technology, and design environment are unmatched by other Java compilers and development
 tools.

 Visual Cafe's integrated database support and wizards are unsurpassed. Database access is handled by
 the included Symantec dbAnywhere middleware package. Java beginners and HTML designers can
 design data-aware forms with little programming using both the dbNavigator tool, which manages
 database connections, and wizards that let them create forms based on queries.

 Visual Cafe offers an unequaled mix of target and compiler features for advanced users. It also features
 over 100 Java Bean components for a wide variety of user interface components, including multimedia and
 high-level beans for animated objects. Most JavaBeans can be attached to live data over the Internet.
 (Symantec Corp., Cupertino, CA; 800-441-7234; cafe.symantec.com.)

 After Hours
 Winner: Force FX
 Immersion Corp.: Louis Rosenberg, Dean Chang, Bruce Schena, Adum Braun; CH Products:
 Charles Hayes, Bill Lundgren, Scott Cordner, Denis Valentine

 Using Immersion Corp.'s 1-Force protocol, the Force FX from CH Products is an extraordinary joystick that
 provides game players with force feedback-tactile responses to events occurring within an on-screen
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 game. The effect is amazing: While you're playing a game that involves driving a car over bumpy terrain,
 the joystick shakes in your hand. When you're flying a virtual plane that is under a barrage of enemy
 gunfire, you'll feel the impact of the bullets as they pummel the fuselage.

 The Force FX's design is considerably larger and more elaborate than that of conventional joysticks. The
 entire Force FX controller is used during play, providing unprecedented game immersion. The Force FX's
 handle looks like a standard input device, but its resistance to your movements will vary, and it will even
 become unresponsive in reaction to game events. In essence, these capabilities work to provide an
 incredibly realistic flight-simulator experience. Software support for force feedback hasn't quite kept pace
 with the peripherals, but it is becoming widespread, and patches for older games are forthcoming.

 Force-feedback technology has also begun penetrating other markets. It has been swiftly adopted by a
 drawing stylus, and other derivative peripherals are planned. And as a game controller technology, it is
 poised to revolutionize the industry. Many joystick manufacturers have force-feedback products in
 development, though the Microsoft Sidewinder Force Feedback Pro is the only other currently on the
 market.

 Because driving games have emerged as the most popular application of the technology thus far,
 manufacturers are scrambling to put force-feedback steering wheels on the shelves as well. (CH
 Products, Vista, CA; 800-624-5804; www.chproducts.com.)

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                                            Canberra Times (Australia)

                                          October 20, 1997, Monday Edition

SECTION: Part A; Page 17

LENGTH: 994 words

HEADLINE: NEW CAMERA COMBINES STILL AND VIDEO CLIPS

BYLINE: BILL OLSON

BODY:

     FOR PRODUCING Internet web page pictures and full motion video clips you can now buy a combined still and
video digital camera.

    As with all new technology the retail price is expensive, more than $3000, but this includes a 260 megabyte PC
hard card, a PC or Macintosh interface kit and other accessories such as remote control.

    Hitachi, the maker of this digital camera, is using MPEG-1, the standard for video and audio compression
developed by the Moving Pictures Experts Group.

     Hitachi's MPEG camera uses a high compression ratio for maximum storage on the PC card and displays more than
at 704 by 480 pixel resolution.

     Although much smaller than a conventional camcorder all of the camera's functions such as real-time compression,
full-motion video and playback are handled by a single chip, the MPEG-1 Codec LSI.

    The MPEG camera allows inexpensive production, editing and viewing of video clips on a PC or Macintosh.

    The camera also eliminates the need for a separate video camera and video capture board in a PC.

    It records video and audio in MPEG-1 format then stores the data on the PC hard card. An interface kit allows
recorded video to be transferred to a desktop computer for editing. The audio visual output cable allows connection
from the camera to an NTSC television for big screen viewing. The camera's 260 megabyte PCMCIA hard disk card is a
specially toughened, low noise drive which stores 20 minutes of digital video or 3000 still JPEG images at 704 by 480
pixel resolution.

    The camera can also store 1000 still JPEG images with 10 seconds of sound attached to each picture.




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  NEW CAMERA COMBINES STILL AND VIDEO CLIPS Canberra Times (Australia) October 20, 1997, Monday
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   Editing video files is easy because the camera is supplied with a full range of software for Windows 95 on
CD-ROM.

   For instance, the PureVi software enables easy drag and drop transfer on to a PC hard drive while the
MediaChef/Clipping software edits MPEG video clips.

    MPEG EasyCut extracts full-motion clips from any MPEG video and PhotoSuite retouches photos and creates
video albums or postcards.

    The Authoring Master software allows both MPEG and JPEG files to be pasted into a business presentation or
report and MediaChef/Print will print images. The Macintosh SCSI version includes PreStage software for manipulating
videos and images between the camera and the computer.

      Any other graphics or video software that imports JPEG and MPEG image files will also work with the camera's
files.

     File management is installed on the camera's hard card and video clips can be sorted into folders or deleted. All
files are itemised on the LCD screen and the file manager is also displayed on the computer screen whenever the camera
is connected.

    When our camera was connected to a television set it ran in the US NSTC format and unfortunately would only
display in monochrome. The camera's file management menus however do also appear on the television screen.

   To run the camera on a PC you need Windows 95, at least a Pentium 100 Mhz with 16 megabytes of RAM and 80
megabytes of available hard disk space. Macintosh users need a Power Macintosh, Macintosh Performa or Macintosh
PowerBook with Power PC processor, OS 7.5 or later and 10 Megabytes of RAM.

     The rechargeable lithium batteries are matchbox-sized and operate the camera for around 40 minutes. The batteries
take about an hour and a half to recharge. Digital cameras seem to be power hungry so rechargeable batteries are
essential.

    There is a neat desktop camera stand and the lens swivels around so you can snap self-portraits.

    The camera's LCD screen has a sunshade for outdoor work. However, a walk through Floriade on a sunny morning
proved that the sunshade was not effective and a helping hand was needed to shade the screen properly.

     This camera takes crisp still digital shots and the 6X zoom feature works quickly. The MPEG video is not so useful,
however, because of its short 20 minutes. Toshiba claims that the video is designed for making brief clips to run on an
Internet web site and it would work well for this purpose but not for holiday trips where the 20-minute limit would soon
be exceeded.

    The camera also deals well inside with low light and the editing software easily boosts any dark corners.

     If you do not want digital video clips, there are other digital still cameras available such as the Olympus D-600L,
the Sony Mavica FD7 and the Ricoh RDDigital Still Sound.

     The Olympus produces a high 1024 x 768 resolution and has a 3X zoom. The images are stored on a removable 4
megabyte media card. As with the Hitachi there is a back panel LCD for viewing images. This camera can be connected
directly to a printer and has a built-in flash. Adobe PhotoDeluxe software and a Photoshop plug-in for Macintosh is
included.

    The price is less than half that of the Hitachi but without video capabilities.




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  NEW CAMERA COMBINES STILL AND VIDEO CLIPS Canberra Times (Australia) October 20, 1997, Monday
                                      Edition


    The Sony Mavica uses a standard floppy disk to store its still images. So you simply take the photos then pop the
floppy disk into your PC for downloading and printing.

     In high resolution the Sony takes 20 images on the floppy disk. It can take up to 40 shots at lower resolutions and
there is a built-in flash. The Sony is around half the price of the Olympus. The Ricoh RDDigital Still Sound camera
does a similar job to the Hitachi but without the MPEG video. It has a 2 megabyte on-board PC card. The camera will
also plug into any TV or VCR and playback images and sounds. The Ricoh still mode records pictures in 24-bit colour
and a macro feature will take images up to as close as a centimetre.

    There is also a continuous shooting mode that records one image every second.

    The 2 megabyte on-board flash memory stores up to 38 images, and PhotoStudio software is included that enables
you to play back the images on a TV using an audio visual cable. Also in the package are serial cables for PC and
Macintosh connections. The Ricoh is about the same price as the Sony camera.

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                                             Business Times (Singapore)

                                                      June 9, 1997

SECTION: Pg. 16

LENGTH: 547 words

HEADLINE: Hitachi debuts world's first MPEG camera

BYLINE: Eileen Khor

BODY:

     BusinessiT

     (SINGAPORE) Hitachi Home Electronics Asia has unveiled a digital camera which it claims is the world's first to
be able to record both movies and still pictures using industry-standard formats for personal computers.

    The 540-g Hitachi MPEG camera has a recording capacity of approximately 20 minutes of full-motion video in
MPEG-1 format or about 3000 still images in JPEG format. MPEG, Moving Picture Experts Group, is an internationally
recognised video compression standard. JPEG, Joint Picture Experts Group, is the equivalent standard for still images
on PCs, including pictures with audio.

    It includes bundled software that allows users to transfer recorded video to a PC and to use the PC to produce, edit
and view the video. The files thus created can be attached to e-mails or added to Internet home pages.

    Singapore is the first Asian country outside Japan in which this camera is being launched.

     The camera, with a 260-megabyte PC Card hard disk and an accessory kit, is priced at S$ 2,999. It will be available
in about a month at most camera and computer retail outlets, Hitachi officials here said.

   Locally, the MPEG camera is targeted at corporate companies and professional users. According to assistant sales
manager Stanley Lam, it is expected that around 100 to 200 units will be sold per month.

     The MPEG camera was launched in Japan and the US in February and March respectively. According to managing
director Yuji Miyamoto, about 4,000 units have been sold in Japan and 2,000 in US to date.

     Mr Lam noted that the MPEG camera is now only available to the high-end user due to its high cost and one of the
challenges of the future would be to make it available to the home-user.

    But Mr Miyamoto is undaunted: "The price is just like when the PC was first introduced. As people gradually




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familiarised themselves to it, the volume increased and prices fell."

    He also noted that there are no competing products in the market right now.

    Added Mr Miyamoto: "We think that no other company will introduce a competing product this year."

    The camera won the "Best of Comdex" award in the Multimedia division at the Comdex Japan computer trade fair
in April.


GRAPHIC: The Hitachi MPEG camera: weighing 540 grams, it has a recording capacity of approximately 20 minutes
of full-motion video in MPEG-1 format or about 3000 still images in JPEG format

LOAD-DATE: June 10, 1997




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